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                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia


                                                       Patrick Henry Building
                                                       601 D St., NW.
                                                       Washington, D.C. 20530




                                                      December 12, 2022

Mr. Komron Jon Maknoon
kjm@maknoon-law.com

                       Re:    United States v. Deborah Sandoval
                              Criminal Case No. 21-CR-195

Dear Mr. Maknoon:

        This letter sets forth the full and complete plea offer to your client, Deborah Sandoval
(hereinafter referred to as "your client" or "defendant"), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as "the Government" or "this
Office"). This plea offer expires on December 13, 2022. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided below.
Upon receipt of the executed document, this letter will become the Plea Agreement (hereinafter
referred to as "this Agreement"). The terms of the offer are as follows:

        1.     Charges and Statutory Penalties

       Your client agrees to plead guilty Count Seven in the Indictment, charging your client
with Entering and Remaining in a Restricted Building or Grounds, in violation of 18
U.S.C. § l 752(a)(l ).

        Your client understands that a violation of 18 U.S.C. § 1752(a)(l ) carries a maximum
sentence of one (1) year of imprisonment; a fine of $100,000, pursuant to 18 U.S.C.§ 357 l (b)(5);
a term of supervised release of not more than 1 year, pursuant to 18 U.S.C. § 3583(b)(3); and an
obligation to pay any applicable interest or penalties on fines and restitution not timely made.

        In addition, pursuant to 18 U.S.C.§ 3013(a)(l)(A)(iii), your client agrees to pay a special
assessment of $25 per class A misdmeanor conviction to the Clerk of the United States District
Court for the District of Columbia. Your client also understands that, pursuant to 18 U.S.C.§ 3572
and§ 5El.2 of the United States Sentencing Commission, Guidelines Manual (2021) (hereinafter
"Sentencing Guidelines," "Guidelines," or "U.S.S.G."), the Court may also impose a fine that is
sufficient to pay the federal government the costs of any imprisonment, term of supervised release,
and period of probation.


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